                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                               C.A. No.: 5:21-CV-130

FRANCINA BATES,

Plaintiff,

        vs.

WELLS FARGO & COMPANY SHORT
TERM DISABILITY PLAN,

            Defendant.
_______________________________________________

                                          COMPLAINT

                                      Preliminary Statement

        Plaintiff brings this action under the Employee Retirement Income Security Act (ERISA)

29 U.S.C. § 1132(a)(1)(B) to seek entitlement and payment of short term disability (STD)

benefits under a self-funded short term disability policy issued by the Wells Fargo & Company

Short Term Disability Plan.

                                              Parties

        1.      Plaintiff is a citizen and resident of Raleigh, North Carolina which is in Wake

County.

        2.      Defendant is a self-funded benefit plan organized and existing pursuant to 29

U.S.C.S. § 1132. Upon information and belief, Defendant is an employee benefit plan providing

benefits for the employees of Wells Fargo & Company.

                                     Jurisdiction and Venue

        3.      In this matter, Plaintiff seeks short term disability benefits under an ERISA plan

pursuant to 29 U.S.C. § 1132(a)(1)(B). This Court has jurisdiction to hear this matter based upon



                                     Page 1 of 3
              Case 5:21-cv-00130-M Document 1 Filed 03/17/21 Page 1 of 3
a federal question. Defendant is subject to jurisdiction in this court because it has more than

minimum contacts with this forum (see 29 U.S.C. § 1132(e)).

       4.       Venue in the Eastern District of North Carolina is appropriate by virtue of

Plaintiff’s residence and Defendant’s presence and doing business in this District.

                                         Factual Allegations

       5.       Until September 4, 2020, Plaintiff was employed with Wells Fargo & Company,

and as an employee of Wells Fargo & Company Plaintiff was provided with short term disability

coverage via a plan which was fully funded by Wells Fargo & Company.

       6.       Plaintiff became disabled because of certain problems from which she suffered.

Plaintiff was forced to cease working and she filed a claim for short term disability benefits.

       7.       Defendant’s claim decision maker denied Plaintiff’s claim. Plaintiff appealed the

denial and fully exhausted administrative remedies, but Defendant has failed and refused to

provide additional benefits.

                                  For a First Cause of Action
                       For Benefits Pursuant to 29 U.S.C. § 1132(a)(1)(B)

       8.       Plaintiff incorporates all prior allegations, where not inconsistent, as if fully set

forth herein.

       9.       Plaintiff respectfully requests that this Court consider the administrative record

compiled in this case and any other evidence relevant to any factors discussed by Champion v.

Black & Decker, 550 F.3d 353 (4th Cir. 2008), if applicable and depending on the standard of

review, and declare, pursuant to 29 U.S.C. §1132(a)(1)(B), that Plaintiff is entitled to the short

term disability benefits which she seeks under the terms of the plan. In the event that the court

reviews the record and/or other relevant information and determines that the Defendant abused

its discretion or that its decision is not supported by the record, but that the substance of the



                                   Page 2 of 3
            Case 5:21-cv-00130-M Document 1 Filed 03/17/21 Page 2 of 3
record might not support Plaintiff’s entitlement to benefits then Plaintiff respectfully asks that, in

the event of such a finding, that the court exercise its inherent power to remand Plaintiff’s claims

for a “full and fair” review by the appropriate claim fiduciary Defendant. Should the court

award Plaintiff any part of the relief requested, Plaintiff additionally prays that the Court award

her attorney’s fees and costs pursuant to 29 U.S.C. §1132(g).

       WHEREFORE, having fully stated her complaint against the Defendant, Plaintiff prays

for:

       1.      A declaration of entitlement to the short term disability benefits she seeks

               pursuant to 29 U.S.C. §1132(a)(1)(B);

       3.      Attorney’s fees and costs pursuant to 29 U.S.C. §1132(g); and

       4.      Such other and further relief as this Court deems just and proper, including pre-

               judgment interest on all benefits due from the point at which benefits were

               payable through the time of judgment.



                                               s/ M. Leila Louzri________________________
                                               M. Leila Louzri, Esq.
                                               North Bar #: 48743
                                               FOSTER LAW FIRM, LLC
                                               25 Mills Avenue
                                               Greenville, South Carolina 29605
                                               (864) 242-6200
                                               (864) 233-0290 (facsimile)
                                               E-mail: llouzri@fosterfoster.com

Date: March 17, 2021                           Attorneys for Plaintiff




                                   Page 3 of 3
            Case 5:21-cv-00130-M Document 1 Filed 03/17/21 Page 3 of 3
